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     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 12-CR-00250-GEB
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING CASE
13                                                  )       AND EXCLUDING TIME
     v.                                             )
14                                                  )
     XAVIER JOHNSON,                                )       Date: February 5, 2016
15                                                  )       Time: 9:00 am.
     KRISTIN M. CALDWELL,                           )       Judge: Honorable Garland E. Burrell, Jr.
16
     WILLIAM L. BROWN.                              )
                                                    )
17          Defendants.                             )
                                                    )
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21
            IT IS HEREBY stipulated between the United States of America through its undersigned

22
     counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff, together with

23
     Kelly Babineau, attorney for defendant Kristin Caldwell; William Dubois, attorney for

24
     defendant William L. Brown and Kyle Knapp, attorney for defendant Xavier Johnson that the

25
     previously-scheduled status conference, currently set for January 15, 2016, be vacated and that

26
     the matter be set for status conference on February 5, 2016 at 9:00 a.m.

27
            Counsel have conferred and this continuance is requested to allow defense counsel

28
     additional time to finalize review of the discovery, met again with our clients, investigate



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 1   possible defenses and to continue exploring the facts of the case. In addition, Matthew Morris,
 2   the Assistant United States Attorney assigned to this case is currently engaged in a jury trial.
 3          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 4   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 5   time within which the trial of this case must be commenced under the Speedy Trial Act should
 6   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 7   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, January
 8   12, 2016, up to and including February 5, 2016.
 9   IT IS SO STIPULATED.
10
     Dated: January 12, 2016                                       BENJAMIN B. WAGNER
11                                                                 UNITED STATES ATTORNEY

12                                                         by:     /s/ Matthew Morris
                                                                   MATTHEW MORRIS
13
                                                                   Assistant U.S. Attorney
14                                                                 Attorney for Plaintiff

15   Dated: January 12, 2016                                       /s/ Kelly Babineau
16
                                                                   KELLY BABINEAU
                                                                   Attorney for Defendant
17                                                                 Kristin Caldwell
18   Dated: January 12, 2016                                       /s/ William Dubois
19
                                                                   WILLIAM DUBOIS
                                                                   Attorney for Defendant
20                                                                 WILLIAM L. BROWN
21
     Dated: January12, 2016                                        /s/ Kyle R. Knapp
22                                                                 KYLE KNAPP
                                                                   Attorney for Defendant
23                                                                 XAVIER JOHNSON
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 1
                                        [PROPOSED] ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s January 15, 2016 criminal calendar
 4
     and re-calendared for status conference on February 5, 2016.
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on January 12, 2016,
 8
     through and including February 5, 2016.
 9

10          IT IS SO ORDERED.
     Dated: January 12, 2016
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